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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

MLU SERVICES, INC.                                ) Civil Action No. 10-CV-1531 N/5
                                                  )
                              Plaintiff           )
v.                                                ) Judge Kurt D. Engelhardt
                                                  )
LANDMARK AMERICAN                                 ) Magistrate Judge Alma Chasez
INSURANCE COMPANY                                 )
                                                  )
                              Defendant           )
                                                  )
This Case Relates To:
In re: FEMA Trailer Formaldehyde Products
       Liability Litigation – MDL No. 1873


                                     ORDER

       Considering the foregoing Motion to Dismiss without Prejudice;

       IT IS HEREBY ORDERED that all matters, causes of action, and claims in this

controversy be and the same are hereby dismissed and discontinued, without prejudice,

each party to bear its own costs.

       New Orleans, Louisiana this _____day of __________, 2010.



                                           _______________________________
                                                       JUDGE
